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Richard Martin                                                                                                     cD              (1'\
(Pro se Plaintiff)                                                                          '."                     .,~
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v.                                                    Docket Number:


 Core Security Solutions, Inc.
 (Defendant)


                                               Parties
The plaintiff, Richard Martin, is currently without a permanent residence and with a mailing
address of39 Boylston Street, Boston, MA 02116. The plaintiff requests that all communication
occur via email wheneverpossible:richard.martin147@gmail.com.

The defendant, Core Security Solutions, Inc., is located at 6301 Ivy Lane, Suite 700, Greenbelt,
MD 20770.
                                           Jurisdiction
28 U.S. Code § 1332 - Diversity of citizenship; amount in controversy; costs
   • Plaintiff and defendant are citizens of different states
   • Matter in controversy exceeds 75,000 USD

                                        Statement of Facts
On the morning of September 26, 2013, the plaintiff, Richard Martin, was standing in the lobby of
a McDonald's restaurant at 601 F St. NW, Washington, DC 20004 when a special police
officer(Harris, Deandre A. of Core Security Solutions, Inc.) began to harass him. The plaintiff
demanded the special police officer to cease with the aforementioned harassment. The special
police officer then demanded that the plaintiff leave the restaurant. Though this demand was unjust,
the plaintiff did comply.

While complying with the demand to exit the restaurant and just outside the entrance of the
restaurant, without cause, the special police officer sprayed an aerosol defense spray into the
plaintiff's nostrils. Next, the special police officer tackled the plaintiff from behind, bringing the
plaintiff to the ground. At this point, the special police officer pressed his genital region against the
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plaintiff several times in periodic motion. Finally, the special police officer placed handcuffs on the
plaintiff.

The plaintiff was subsequently transferred to the custody of the Metropolitan Police Department
and falsely charged with assaulting a police officer. The plaintiff was imprisoned until the next
morning. While incarcerated, the plaintiff was taken to an empty cell where a guard placed one of
his hands on the plaintiff's neck and applied pressure. After spending the night in custody, the
plaintiff was released and told that the criminal complaint would not be further pursued.

                                          Statement of Claims
   I.   Intentional infliction of emotional distress
            A. The defendant is responsible for the intentional, extreme, and outrageous acts of the
                aforementioned special police officer, as well as the guard.
  II.   Negligence
            A. The defendant had a legal duty to the exercise reasonable care towards the plaintiff.
                The defendant failed to exercise reasonable care when the special police officer
                violated the plaintiff. As any rational person would, the plaintiff suffered severe
                emotional distress as a direct result of the defendant not exercising reasonable care.
 III.   Battery
            A. The defendant is responsible for the both the sexual and nonsexual contact the
                special police officer, as well as the guard made with the plaintiff. All of this
                contact was intentional and offensive, without the plaintiff permission, and very
                much against the plaintiffs wishes.
IV.     Defamation
            A. The defendant is responsible for the false statements the special police officer made
                to the Metropolitan Police Department. These statements led to the plaintiff being
                arrested and imprisoned.
 V.     False Imprisonment
            A. The defendant is responsible for the plaintiff's false imprisonment.
VI.     Assault
            A. The defendant is responsible for the special police officer's, as well as the guard's
                sexual and nonsexual offensive contact that was meant to harm the plaintiff.
VII.    Malicious Prosecution
            A. The defendant is responsible for a criminal lawsuit being brought against the
                plaintiff for an improper purpose and without grounds.

                                          Request for relief
The plaintiff hopes to lower the risk of others experiencing variations of the previously mentioned
behavior from Core Security Solutions, Inc. employees.

The plaintiff is requesting:
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    •   an injunction for the defendant to overhaul its policies and procedures related to security to
        decrease the risk of its employees from committing similar acts as those mentioned above
    •   an injunction for Harris, Deandre A. to be immediately terminated
    •   10,000,000 USD in compensatory and punitive damages

                                          Jury Demand
                  The plaintiff demands a trial by jury in regards to this complaint.



I declare under penalty of perjury that the foregoing is true and correct. Executed on June 15th,
2015,




Richard B. Martin
richard. martin 147@gmail.com

39 Boylston Street
Boston, MA 02116
